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their particular AWP-inflated drugs and their market share for those drugs,” AMCC 4 5. These
cursory, theoretical allegations do not come close to satisfying Rule 9(b).

First, there ts not a single allegation in the AMCC about any statement that any defendant
made to any PBM. Nor are there any allegations about how any particular defendant “marketed
the spread” to any particular PBM; there is only general speculation that defendants must have
“marketed the spread” to PBMs because defendants allegedly did so in connection with certain
Medicare drugs. Such generalized allegations about “all defendants” are plainly insufficient
under Rule 9(b). See, e.g., Luce v. Edelstein, 802 F.2d 49, 54 (2d Cir. 1986); Center Cadillac,
Inc. v. Bank Leumi Trust Co., 808 F. Supp. 213, 230 (S.D.N.Y. 1992) (“A complaint sounding in
fraud may not rely on sweeping references to acts by all or some of the defendants because each
named defendant is entitled to be apprised of the facts surrounding the alleged fraud.”).

Second, the plaintiffs never identify a particular drug involved in this alleged PBM fraud.
In paragraph 178 of the AMCC, there is a citation to a Wall Street Journal article about how the
PBM Express Scripts allegedly profited from the drug floxetine, but no manufacturer is
identified and there is no allegation that any defendant marketed the spread on this particular
drug. In any event, this is the only allegation provided to support plaintiffs’ PBM theory.
Accordingly, plaintiffs’ PBM claims must be dismissed pursuant to Rule 9(b).

B. Plaintiffs Fail To Allege A “Fraudulent AWP” For The
Vast Majority Of The Drugs Named In The AMCC,

Plaintiffs fail to plead a “fraudulent AWP” for each drug at issue, as this Court required.
AWP Litigation, 263 F. Supp. 2d at 194. This failure requires the dismissal of all claims
premised on plaintiffs’ PBM theory. In addition, plaintiffs fail to satisfy Rule 9(b) with respect

those Medicare Part B drugs for which there are no particularized allegations.

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In the PBM context, plaintiffs contend that they paid fraudulent prices for defendants”
drugs. AMCC 4/172. Yet, remarkably, they fail to specify the allegedly fraudulent prices that
they paid. In the absence of particularized allegations about the percentage discounts off AWP
that plaintiffs negotiated in their arm’s length transactions with PBMs, it is impossible to
determine whether plaintiffs paid anything close to the published AWP that they allege is
somehow fraudulent. Plaintiffs’ failure to allege a single price paid by even a single plaintiff for
a single drug is inexcusable. See Oral Arg. Tr. at 101 (admitting that plaintiffs know what they
paid for the drugs at issue). Compare Efron v. Embassy Suites (P.R.), Inc., 223 F.3d 12, 16 a*
Cir. 2000) (explaining that relaxation of pleading requirements where information is in
defendant’s sole possession does not apply where the information is held by plaintiffs).

Indeed, in response to the Court’s direction, plaintiffs do no more than regurgitate the
published AWPs for the drugs listed in Appendix A. Plaintiffs fail to explain how these
published AWPs are fraudulent, except to speculate that there is a difference between these
published AWPs and the cost to PBMs (i.e., a ““spread”), See AMCC 161,171. But mere
speculation about a hypothetical “spread” is not sufficient to satisfy Rule 9(b) or the Court’s
instruction that they identify the “fraudulent AWPs” for the drugs at issue in their PBM claims.
According, those claims must be dismissed.

Likewise, in the Medicare Part B context, plaintiffs assert that they overpaid for “all
drugs administered under Medicare Part B.” AMCC 9 140, 141. Yet, the AMCC includes
allegations relating to only a handful of Medicare Part B drugs. Accordingly, plaintiffs’ claims
relating to Medicare Part B drugs about which there are no particularized allegations must be

dismissed.
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C. The Allegations Pertaining To “Other” Alleged “Hidden and Improper
Inducements” Are Also Devoid Of Any Particulars.

In a span of four short paragraphs, the plaintiffs seek to include other alleged practices as
part of their claims, such as the “improper use of free samples,” AMCC ff 164-66, and “other
non-public financial inducements” like “volume discounts, rebates, off-invoice pricing, free
goods, credit memos, consulting fees, debt forgiveness and educational and promotional grants,”
AMCC 4 167. These sweeping, all-inclusive allegations, devoid of particulars as to the conduct
of individual defendants, are plainly insufficient under Rule 9(b). See, e.g., Center Cadillac, 808
F. Supp. at 230.

In sum, plaintiffs have failed to heed the Court’s direction to abide by Rule 9(b). Since
this failure comes after three chances and the opportunity to review over one million pages of
documents produced by defendants, the PBM claims, the claims about drugs with no allegation
of a purchaser or fraudulent AWP, and the claims relating to drug samples and other physician
inducements must be dismissed with prejudice.*

Il. PLAINTIFFS’ RICO CLAIMS SHOULD BE DISMISSED.
“*[C]ourts should strive to flush out frivolous [civil] RICO allegations at an early stage of

the litigation.’” Bowdoin Constr. Corp. v. Rhode Island Hosp. Trust Nat’! Bank, N.A., 869 E.

Supp. 1004, 1006 (D. Mass. 1994) (Saris, J.) (citations omitted), aff’d sub nom., Schultz v. Rhode

* In addition, because plaintiffs only allege published AWPs for 1997 through 2002, at a minimum, any
remaining claims must be limited to this time period. Furthermore, for the reasons set forth in the individual
memorandum of the Bristol Meyers Squibb defendants, all pre-1997 claims are barred by the applicable statute of
limitations.

Moreover, plaintiffs fail to allege a purchaser for each one of the drugs they contend are at issue. A
spreadsheet identifying, by manufacturer, each of the drugs identified in Appendix A of the AMCC for which no
plaintiff purchaser has been identified in Appendix B is attached hereto as Exhibit A. Because no purchaser is
alleged for the drugs listed in Exhibit A, claims with respect to those drugs must be dismissed.

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Island Hosp. Trust Nat’l Bank, N.A., 94 F.3d 721 (1* Cir. 1996). Accordingly, “while ‘the
pleadings should generally be construed liberally. . . a greater level of specificity is required in
RICO cases.’” Divot Golf Corp. v. Citizens Bank of Mass., No. Civ. A. 02-CV-10654-PBS, 2002
WL 31741472, at *1 (D. Mass. Nov. 26, 2002) (Saris, J.) (quoting Bessette v. Avco Fin. Servs.,
Inc., 230 F.3d 439, 443 (1* Cir. 2000)).°

These admonitions are particularly appropriate here. Plaintiffs have provided more
pages, paragraphs, and enterprises, but they have not provided more facts. Rather, they merely
repeat conclusory, boilerplate assertions that parrot the RICO statute and the Court’s Order.
Instead of curing the defects in their original RICO claims, plaintiffs have multiplied them.

Under § 1962(c), plaintiffs must allege that defendants were “employed by or associated
with” a RICO enterprise, and that defendants engaged in the (1) conduct (2) of the enterprise (3)
through a pattern (4) of racketeering activity. 18 U.S.C. § 1962(c); Sedima S.P.R.L. v. Imrex
Co., 473 U.S. 479, 496 (1985). In addition, plaintiffs also must satisfy the proximate cause
element. 18 U.S.C. § 1964(c). To withstand a motion to dismiss, “[i]t is not enough. . . for a
plaintiff simply to allege the above elements in boilerplate fashion; instead, [plaintiff] must
allege sufficient facts to support each element.” Goren v. New Vision Int’l, Inc., 156 F.3d 721,
727 (7" Cir. 1998); see also Jennings, D.C. v. Emry, 910 F.2d 1434, 1435 (7" Cir. 1990)
(plaintiffs’ lengthy complaint failed to state a RICO claim, and its “conclusory allegations that
various statutory provisions have been breached are of no consequence if unsupported by proper

factual allegations”).

* See also Farlow v. Peat, Marwick, Mitchell & Co., 956 F.2d 982, 989 (10" Cir. 1992) (“Under Rule 9(b),
plaintiffs must sufficiently allege each element of a RICO violation and its predicate acts of racketeering with
particularity ....”).

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Plaintiffs have failed to allege the necessary elements of a RICO claim under any
pleading standard. In particular, plaintiffs fai] to set forth a single viable RICO enterprise, fail to
demonstrate that defendants conducted or participated in the affairs of the alleged enterprises,
and fail to allege causation of harm by any conduct of defendants.

A. Plaintiffs Do Not Allege A Viable RICO Enterprise.

In the MCC, plaintiffs attempted to construct a viable RICO claim through an array of
alternative theories encompassing 79 different alleged enterprises. The Court rejected this
effort.© Rather than presenting a more streamlined theory, plaintiffs’ AMCC is even broader and
more complicated than its predecessor. The 79 alternate enterprises have been replaced by 154,
a task achieved by taking “enterprises” that the Court already has rejected and breaking them up
into numerous “mini-enterprises.”

In Count I, plaintiffs set forth a series of “Manufacturer-Publisher Enterprises,” which are
alleged to be “associations-in-fact consisting of (a) one of the Publishers that reported AWPs for
AWPIDs, and (b) a Defendant Drug Manufacturer, including its directors, employees and
agents.” AMCC 4 624.’ Count II similarly sets forth a series of “Manufacturer-PBM RICO
Enterprises,” alleged to be “associations-in-fact consisting of (a) one of the PBMs that
administered purchases of a Defendant Drug Manufacturer’s brand name drugs and billed its

members on the basis of the Defendant Drug Manufacturer’s reported AWPs, and (b) a

* Because the Court dismissed the RICO counts in the MCC for failure to allege an enterprise, it did not
reach the other deficiencies in those claims. See AWP Litigation, 263 F. Supp. 2d at 181 n.9.

’ The plaintiffs have identified the following publishers: Thomson Medical Economics; First Data Bank,
Inc.; and Facts & Comparisons, Inc. AMCC 9 622. Each of 22 defendants is alleged to have entered into a separate
association-in-fact enterprise with each of these three publishers.

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defendant Drug Manufacturer, including its directors, employees and agents.” AMCC 4 651.°

These alleged enterprises are merely variations of the “Publisher Enterprises” and “PBM
Enterprises” set forth in the MCC. Compare MCC f 370-77 and MCC ff 429-31 with AMCC
#4 619-28 and AMCC 9{ 651-61. In the AMCC, plaintiffs have simply disaggregated the
enterprises alleged in the MCC, so that each defendant is now alleged to have engaged in
separate enterprises with each publisher and each PBM. They have done so in an effort to avoid
this Court’s finding that the enterprises in the MCC had a “hub-and-spoke design,” AWP
Litigation, 263 F. Supp. 2d at 183, which lacked a “rim to connect the spokes,” id, at 184.
However, even if plaintiffs have avoided the “hub-and-spoke” analogy, they have not cured the
other deficiencies in the enterprise allegations that were fatal to their original RICO claims.

To establish an association-in-fact enterprise, the plaintiff must plead facts demonstrating
the existence of an “entity separate and apart from the pattern of racketeering activity in which it
engages.” United States v. Turkette, 452 U.S. 576, 583 (1981). This requires evidence of “an
ongoing organization” whose members “function as a continuing unit” and are “associated
together for a common purpose of engaging in a course of conduct.” Jd.; see also AWP
Litigation, 263 F. Supp. 2d at 182 (holding that a plaintiff must demonstrate that the associated
groups “constitute a larger unit, over and above their separate structures and operations.””)
(quoting Libertad v. Welch, 53 F.3d 428, 442 (1" Cir. 1995)). Moreover, these enterprise

allegations must be pled with the heightened specificity required by Rule 9(b).”

® The AMCC identifies four PBMs: AdvancePCS; Caremark, Rx, Inc.; Express Scripts, Inc.; and Medco
Health Solutions, Inc. AMCC { 650. Each of 22 drug manufacturers is alleged to have entered into a separate
association-in-fact enterprise with each of these four PBMs.

* See, e.g., Brooks v. Bank of Boulder, 891 F. Supp. 1469, 1476 (D. Colo. 1995) (RICO enterprise must be
pled with particularity under Rule 9(b)); O&G Carriers, Inc. v. Smith, 799 F. Supp. 1528, 1540-42 (S.D.N.Y. 1992)
(same); Miller Hydro Group v. Popovitch, 793 F. Supp. 24, 28 (D. Me. 1992) (same); Plount v. Am. Home

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As this Court noted, “[t]he First Circuit has considered several factors in
determining whether a RICO association-in-fact enterprise has been properly asserted:
(1) whether the associates have a common purpose; (2) whether there is
“systematic linkage, such as overlapping leadership, structured or financial ties or
continuing coordination”; (3) whether there is a common communication network
for sharing information on a regular basis; (5) whether the associates hold
meetings and sessions where important discussions take place; (6) whether the
associates wear common colors, signs or insignia to make the group identifiable;
and (7) whether the group conducted common training and instruction.

AWP Litigation, 263 F. Supp. 2d at 182 (citations omitted).

In the AMCC, plaintiffs lift this language from the Court’s Order, and repeat it over and
over, mantra-like, in an attempt to state viable enterprises. However, they fail to allege any facts
showing that any of these factors is present here. Instead, they rely on “ritualistic averment([s], in
wholly conclusory terms,” to attempt to overcome the deficiencies that were identified in the
Court’s Order. Feinstein v. Resolution Trust Corp., 942 F.2d 34, 42 n.7 (1" Cir, 1991) (plaintiff-
appellants failed to allege a valid enterprise where complaint “contained no allegations
articulating how any of the appellees may have comprised part of an ‘ongoing organization’ or
‘function[ed] as a continuing unit’”) (citations omitted),

1, The Manufacturer-Publisher Enterprises Are Deficient
Because Plaintiffs Have Failed To Plead Facts Showing That They
Constitute Ongoing Organizations Whose Members Function As
Continuing Units And Share Common Purposes.

Plaintiffs allege that each of the “Manufacturer-Publisher Enterprises” is an

ongoing and continuing business organization...[whose members] are and have
been associated for the common or shared purposes of (a) publishing or otherwise

Assurance Co., 668 F, Supp. 204, 206-07 (S.D.N.Y. 1987) (same); Slattery v. Castello, 586 F. Supp. 162, 168
(D.D.C. 1983) (same). But see American Buying Ins. Servs., Inc. y. S. Kornreich & Sons, Inc., 944 F. Supp. 240,
246-47 (S.D.N.Y. 1996) (RICO enterprise need not comply with Rule 9(b)); Spira v. Nick, 876 F. Supp. 553, 561
(S.D.N.Y. 1995); Fed Paper Bd. Co. v. Amata, 693 F, Supp. 1376, 1395 n.31 (D. Conn. 1988); Lingle v. Ziola, 701
F. Supp. 158, 160 (N.D, Tl. 1988); M. Ky. Bank & Trust v. Rhein, 1984 WL 23248, at *1 (E.D. Ky. Sept. 18, 1984).

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disseminating pharmaceutical price information, which all too often includes

disseminating false and misleading AWPs, (b) selling, purchasing, and

administering AWPIDs to Plaintiffs and Class members, and (c) deriving profits

from these activities.
AMCC 4 624. They allege that “[e]ach of the enterprises had a common purpose of perpetuating
use of AWPs as a benchmark for reimbursement in the pharmaceutical industry, generally, and
specifically for the drugs of that defendant.” Jd. Thus, plaintiffs assert that 66 separate and
distinct RICO enterprises operated in parallel and shared the identical common purpose. See
AMCC § 628. Plaintiffs also allege that each of these enterprises had a “systematic linkage,” a
“common communication network,” id. 625, and a “hierarchical decision-making structure
headed by the respective Defendant Drug Manufacturer,” id. § 635.'°

These “ritualistic” averments fail to satisfy any of the Turkette requirements. First,

plaintiffs do not plead facts showing the necessary “ongoing organization.” While plaintiffs state
the conclusion that “each of the Manufacturer-Publisher Enterprises is an ongoing and
continuing business organization,” AMCC § 624, they do not plead a single fact to support it.
Indeed, plaintiffs fail to allege any organizational structure beyond the promotion of the “AWP
scheme.” AMCC 7624. A RICO enterprise “‘must exhibit structural continuity which exists
where there is an organizational pattern or system of authority that provides a mechanism for
directing the group’s affairs on a continuing, rather than ad hoc, basis.”” Manhattan Telecomms.
Corp. v. DialAmerica Mktg., inc., 156 F. Supp. 2d 376, 380-81 (S.D.N.Y. 2001) (citation

omitted) (dismissing RICO claims for lack of adequate allegations that defendants and their

customers functioned as a continuing unit); see also VanDenBroeck v. CommonPoint Morte. Co.,

'° The allegations directed at individual defendants, rather than defendant manufacturers as a whole,
represent nothing more than a recitation of the general RICO enterprise allegations, with the names of an individual
drug manufacturer and the publishing companies inserted. See AMCC 4 628 (a)-(v).

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210 F.3d 696, 699 (6" Cir. 2000) (citation omitted) (“‘the hallmark of a RICO enterprise is the
ability to exist apart from the pattern of wrongdoing’”).

Similarly, while plaintiffs state the conclusion that “[e]ach of the Manufacturer-
Publisher Enterprises had a hierarchical decision making structure,” AMCC 4 635, they do not
plead a single fact describing that structure. In fact, the AMCC itself reveals the lack of any such
structure. On the face of the AMCC, the “structure” of the alleged Manufacturer-Publisher
Enterprises is simply that manufacturers provide publishers with AWPs and publishers report
them. See AMCC J 627. This does not meet the “ongoing organization” test of Turkette.

Second, plaintiffs fail to plead facts showing that the Manufacturer-Publisher Enterprises
functioned as a continuing unit separate and apart from the pattern of racketeering activity. The
alleged purpose of the enterprises is to publish false and fraudulent AWPs, and to “deriv[e]
profits from these activities.” AMCC { 624. Thus, the purpose of the enterprises is the same as
the pattern of racketeering activity, which is described as using interstate mail and wires to
further the “A WP scheme” of “deliberately overstating the AWPs,” thereby creating a “spread”
to induce providers to purchase the manufacturers’ drugs, and thereby allowing the manufacturer
to make more of a profit. See AMCC [ff 637-41.

Finally, plaintiffs fail to plead facts to satisfy RICO’s requirement that the participants in
the Manufacturer-Publisher Enterprises share a specific common purpose. See, e.g., Blue Cross
of Cal. v. SmithKline Beecham Clinical Labs, Inc., 62 F. Supp. 2d 544, 552 (D. Conn, 1998);
First Nationwide Bank v. Gelt Funding Corp., 820 F. Supp. 89, 98 (S.D.N.Y. 1993), aff'd, 27
F.3d 763 (2d Cir. 1994). Plaintiffs allege that the manufacturers’ AWPs were “created solely to

cause Plaintiffs and the Class members to overpay for drugs” and “to enable providers and others

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to make secret profits through overcharges to patients, their insurers and other end payors,”
resulting “in increased market share and profit for the Defendant Drug Manufacturers.” AMCC
43; see also id. J] 4-5. Plaintiffs offer no facts showing that the publishers share this common
purpose. Rather, plaintiffs allege only that the publishers share the ‘common purpose of
perpetuating use of AWP as a benchmark for reimbursement in the pharmaceutical industry.”
AMCC J 624. As this Court observed with respect to the MCC, “[t]here is no allegation that the
publishing companies ever benefitted from the ‘spread’ scheme other than by the profits
generated for publishing data provided to them.” AWP Litigation, 263 F. Supp. 2d at 185. The
AMCC is no different. See AMCC J 624.

Stripping away their conclusory allegations, plaintiffs have done nothing more than
describe arm’s-length business arrangements between the defendant manufacturers and the
publishing companies. A RICO enterprise cannot consist of merely two separate entities
engaged in a common business venture. See Feinstein, 942 F.2d at 41 n.7 (banks and individuals
engaged in the buying and selling of real estate did not constitute an enterprise) (citing Turkette,
452 U.S. at 583).'' For these reasons, the alleged Manufacturer-Publisher Enterprises fail to
meet the requirements of Turkette, and Count I should be dismissed.

2. The Manufacturer-PBM Enterprises Are Deficient Because
Plaintiffs Have Failed To Plead Facts Showing That They
Constitute Ongoing Organizations Whose Members Function

As Continuing Units And Share Common Purposes.

In Count II, plaintiffs allege that each of the “Manufacturer-PBM Enterprises” is an

"! See also Foval v. First Nat'l Bank of Commerce In New Orleans, 841 F.2d 126, 129 (5" Cir, 1988)
{plaintiff failed to allege an association-in-fact enterprise where “the evidence before the court establishe[d] only the
existence of a commercial loan transaction”); VanDenBroeck, 210 F.3d at 700 (contractual arrangement between
telemarketing company and its customers failed to present a viable RICO enterprise, and noting that evidence
offered by plaintiff borrowers demonstrated nothing more than a business relationship).

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ongoing and continuing business organization [whose members] are and have been

associated for the common or shared purposes of selling, purchasing and administering

AWPIDs to individual Plaintiffs and Class members . . . and deriving profits from these

activities.

AMCC 4 652. Plaintiffs allege that the Manufacturer-PBM Enterprises each “had a common
purpose of perpetuating use of AWPs as a benchmark for reimbursement in the pharmaceutical
industry.” /d. 4654. In other words, plaintiffs allege that there are 88 separate and distinct
Manufacturer-PBM Enterprises operating in parallel, with the identical common purpose shared
by each. See AMCC 7 661. Plaintiffs also allege that these enterprises each had a “systematic
linkage” and a “common communication network.” Jd. 653. As with the Manufacturer-
Publisher Enterprises, the AMCC lacks any specific facts to support these averments. See
Feinstein, 942 F.2d at 42, n. 7; see also Goren, 156 F.3d at 727.”

Like the enterprises described in Count I, the Manufacturer-PBM Enterprises fail to meet
any of the requirements established by Turkette. Plaintiffs offer no facts to show that each
manufacturer joined an identical but separate “ongoing organization” with each PBM, and that
each PBM joined itself into an identical but separate “ongoing organization” with each
manufacturer, While plaintiffs describe various business arrangements between manufacturers
and PBMs, see AMCC {{ 654, 657, they offer no facts to show that the separate parties to these
arrangements merged into a separate “entity.” Similarly, plaintiffs present no facts to show that

each manufacturer separately merged itself into a “continuing unit” with each PBM, or that each

PBM separately did so with each manufacturer.

'? As in Count , plaintiffs simply repeat conclusory allegations as to each of 22 manufacturers. See AMCC

4 661 (a)-(v).
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Finally, plaintiffs fail to plead facts showing that the participants in the Manufacturer-
PBM Enterprises shared the “common purpose” required by Turkette. See pp. 16-17 supra.
Plaintiffs allege only that the participants “had a common purpose of perpetuating use of AWPs
as a benchmark for reimbursement in the pharmaceutical industry.” AMCC 4 654. They provide
not a single fact to support the conclusion that PBMs share this purpose. At most, plaintiffs
allege nothing more than the existence of business arrangements between manufacturers and
PBMs, which is insufficient to establish the existence of a RICO enterprise.

B. Plaintiffs Fail To Plead Facts Showing That Defendants Conducted
Or Participated In The Affairs Of The Alleged Enterprises.

Even if plaintiffs allege a valid RICO enterprise (which they have not), they must set
forth facts demonstrating that defendants conducted or participated in the affairs of the
enterprise. 18 U.S.C. § 1962(c). In order to satisfy this element, plaintiffs must allege that
defendants did something more than conduct their own affairs. Arrandt v. Steiner Corp., No. 00
C 2317, 2001 WL 893807, at *5 (N.D. IIL. Aug. 6, 2001).

Plaintiffs fail to allege any facts that satisfy this requirement. They allege that defendants
conducted the affairs of the Manufacturer-Publisher Enterprises because each defendant (a)
“directly controlled the price of its AWPIDs”; (b) “directly controlled the AWPs that are
reported by the Publishers”; (c) “directly controlled the creation and distribution of marketing,
sales and other materials”; (d) used “a fraudulent scheme to manufacturer, market and sell its
AWPIDs on the basis of AWPs” provided to the publishers; and (e) intended that each of the
publishers would report the AWPs. See AMCC 4 634. Plaintiffs make nearly identical

allegations with respect to the Manufacturer-PBM Enterprises. See AMCC 4 667.

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Fairly read, the AMCC alleges nothing more than actions by the manufacturers involving
their own affairs. While they allege that “each of the Publishers has allowed these Defendants to
exert control over their organizations,” AMCC 4 634(f), plaintiffs provide not a single fact to
support this conclusion. And, while they allege that the defendants paid rebates to PBMs, see
AMCC 4 667(f), they allege no facts showing how this amounted to control or participation in
the Manufacturer-PBM enterprises. In sum, nothing in the AMCC indicates that a defendant
drug manufacturer “directs the other members of the enterprise, takes orders from the other
members, or controls the enterprise’s affairs in a way that is distinct from merely directing its
own affairs.” Arrandt, 2001 WL 893807, at *5.

Plaintiffs have not and cannot allege facts showing that the individual defendants each
were able, separately but simultaneously, to direct the affairs of the various association-in-fact
enterprises. By definition, merely alleging that a defendant directs its own affairs is insufficient
to satisfy the “to conduct or participate” requirement of § 1962(c). With respect to the
Manufacturer-Publisher Enterprises, plaintiffs would have to assert that each drug manufacturer
simultaneously directed an employee of each publisher to take separate actions that are arguably
inconsistent with one another, as the purpose of the alleged “scheme” was for each manufacturer
to steal market share from its competitors (i.e., its co-defendants), The same analysis would
apply with regard to the Manufacturer-PBM Enterprises. As any such arrangement defies
plausibility, the RICO claims in the AMCC should be dismissed.

C. Plaintiffs Lack Standing To Assert Their RICO Claims Because
They Cannot Show That Defendants Directly Caused Their Alleged Injuries.

The civil enforcement section of RICO provides a cause of action for persons

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injured in “their business or property by reason of a [RICO] violation,” 18 U.S.C. § 1964(c)
(emphasis added); see Sedima, 473 U.S. at 496. It is not enough for the conduct at issue to be the
“but for” cause of the injury; the violation must be the direct, proximate cause as well. Holmes
v, Securities Investor Prot. Corp., 503 U.S. 258, 265-66, 268 (1992); see also Carmelio v.
American Fed’n, 137 F.3d 666, 670 (1" Cir. 1998). For this reason, RICO plaintiffs may not
recover if the causal connection is “too remote,” Holmes, 503 U.S. at 271; if the connection
between the injury and the conduct is “insufficiently close,” Carmelio, 137 F.3d at 670; or if
plaintiff's loss was caused more directly by an intervening party, Willis v. Lipton, 947 F.2d 998,
1001 (1* Cir. 1991). Moreover, RICO claims cannot be founded on alleged misrepresentations
when the plaintiff's injury stems from the intervening acts of others.’* Here, plaintiffs’ alleged
RICO injury is that the prices they paid for defendants’ drugs were too high. However, the
allegations of the AMCC reveal that plaintiffs’ alleged injuries were not caused directly by any
actions of the defendants; rather, additional intervening acts break the causal chain of plaintiffs’
RICO claims.

Based upon the AMCC, it is clear that there are significant and multiple intervening acts
between plaintiffs’ alleged injuries and the alleged acts of the defendants. First, plaintiffs do not
allege that defendants made misrepresentations directly to them. Rather, they allege that the
alleged misrepresentations were made to third-party publishers in the form of inflated AWPs.

AMCC ff 160-62, 172. Medicare and other payors, according to plaintiffs, relied on the

See, e.g., Eli Lilly & Co. v. Roussel Corp., 23 F. Supp. 2d 460, 485 (D.N.J. 1998); Barr Labs, Ine. v.
Quantum Pharmies, Inc., 827 F. Supp. 111, 115-16 (E.D.N.Y. 1993); Lifsehultz Fast Freight, Inc. v. Consal.

Freightways Corp., 805 F. Supp. 1277, 1291 (D.S.C. 1992), aff'd, 998 F.2d 1009 an Cir), cert. denied, 510 U.S.
993 (1993).

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reported prices, which allegedly caused reimbursements and co-payments to be inflated, which in
turn caused injury to plaintiffs.

Second, under Medicare, the prescribing doctor (or other providers), not defendant
manufacturers, sets the charge for the drugs and submits claims for reimbursement to the
Medicare carrier. AMCC 9 134, 148-149. The prescribing doctor may set her “actual charge”
at any level, including a level below AWP. See 42 C.F.R. § 405.517(b) (setting total Medicare
reimbursement as “the /ower of the actual charge on the Medicare claims for benefits or 95% of
the national average wholesale price”) (emphases added); see also AMCC § 147. When the
doctor charges less than 95% of AWP, the beneficiary pays a co-payment based on the doctor’s
“actual charge,” not a higher co-payment amount based in any way on AWP. The provider’s
charging decision is therefore a critical intervening cause of plaintiffs’ alleged injury.

Third, with respect to Medicare beneficiaries who are part of the AWP Payor Class, see
AMCC {[ 595, numerous government actors (and their agents), including Congress, CMS/HCFA,
and the Medicare carriers that administer and process Part B claims, chose and continue to base
drug reimbursement on AWP. Congress has always been free to base reimbursement on
something other than A WP, as it has done with other federal programs. Further, Congress could
have required no Medicare co-payment, or it could have required a flat fee rather than a
percentage of total reimbursement. Moreover, from 1992 through 1997, HCFA had specific
statutory authority to base reimbursement for Part B drugs on “Estimated Acquisition Cost,” but
nevertheless chose to use AWP. See 42 C-F.R. § 405.517 (1992) (now superseded). And, it is
the Medicare carriers that decide whether Part B claims submitted to them will be reimbursed.

Simply put, members of the AWP Payor class who paid for Medicare Part B drugs paid an

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amount that was determined exclusively by reference to the amount that the government and its
agents have decided to pay for those drugs.

Fourth, with respect to the PBM Third-Party Payor Class, plaintiffs do not allege any
facts that could support the conclusion that defendants were the cause of any injury flowing from
the alleged Manufacturer-PBM Enterprises. The PBMs, not the defendants, contract with the
plaintiff health plans. See AMCC 169 (“[H]ealth plans typically contract with intermediaries
called pharmacy benefit managers (‘PBMs’) so that a health plan’s participants can obtain brand
name drugs from pharmacies or, via mail order, directly from the PBMs.”). Defendants have no
involvement in the contractual relationship between the health care plans and the third-party
PBMs, and none is alleged. All that is alleged is that the PBMs use “inflated ‘Average
Wholesale Price’ — or ‘AWP”” as the basis for reimbursement in arm’s-length contracts
negotiated with third-party payor class members. /d. 7171. The plaintiff health plans have
unfettered discretion to base their payments to PBMs on any non-A WP benchmark. To the
extent that they chose to base these payments on AWP, nothing in the AMCC implicates any
defendant in any of their decisions to do so. Thus, any injury to plaintiffs arising from a PBM-
health plan contractual relationship is not proximately caused by any actions on the part of
defendants.

Il. PLAINTIFFS FAIL TO STATE A CLAIM FOR CIVIL CONSPIRACY.

The AMCC alleges, for the first time in this case, that each of 22 defendants (or

defendant groups) engaged in separate civil conspiracies with each of the four major PBMs to

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